Case 2:04-CV-02772-BBD-tmp Document 31 Filed 07/06/05 Page 1 of 3 Page|D 43

IN THE UNITED sTATEs DISTRICT CoURT w BY ~M&_/D~°~
FoR THE wEsTERN DIsTRICT oF TENNESSEE
WESTERN DIVISION 05 JUL ~6 PH 3= l6

 

 

MICHAEL HIGGINBOTTOM, and U.%U.& § . § r'.&)|.HT

DIANNE HIGGINBoTToM OF T`N'. M€MIS

Plaintiffs,

v. NO.: 04-2772-D/P

METHODIST HEALTHCARE~MEMPHIS
HOSPITALS, T. MARTIN CARR M.D.,
P.C. and in his individual capacity

DR. MORRIS STALLINGS

Defendants.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT

 

It appearing to this Court that Plaintiff’s Motion for Leave to Amend Complaint is well
taken, the Court exercising its discretion finds that good cause is shown to allow Plaintiff to
amend the Complaint to correctly identify and/or name Defendant Methodist Healthca;re-
Memphis Hospitals:

IT IS, THEREFORE, ORDERED that Plaintiff be granted leave of Court to file the

Amended Complaint.

 

 

Thie document entered on the docket sheet |n compliance f '

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with Rule 58 and/or?g(a)FRCP on ' ' . ._ . w`_ l__,'

 

 

 

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This notice confirms a copy of the document docketed as number 31 in
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Honorable Bernice Donald
US DISTRICT COURT

